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 IT IS ORDERED as set forth below:



 Date: July 5, 2017
                                           _____________________________________
                                                       James R. Sacca
                                                 U.S. Bankruptcy Court Judge

 _______________________________________________________________
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